Case 1-19-44250-eSS DOCL FileadO/s/id/ly centered Of/Léily Loioli0e

Fill in this information to identify your case:

United States Bankruptcy Court for the:

Eastern District of New York

 

Case number (/f known): Chapter you are filing under:
Chapter 7
Chapter 11
O) Chapter 12 seus
QO) Chapter 13 C] Check if this is an

amended filing

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

[Part 4: Identify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your
: " Chu
government-issued picture - >
identification (for example, First name First name
your driver's license or H.
passport). Middle name Middle name
Bring your picture Kwon
identification to your meeting ——_ Last name Last name
with the trustee.
Suffix (Sr., Jr., IH, fH) Suffix (Sr, Jr, 1, WN)
2. All other names you
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middie name
Last name Last name
3. Only the last 4 digits of
your Social Security XX xX — _ 7 _ O74 XX XK
number or federal OR OR
Individual Taxpayer
Identification number xx = xX QxK = XK
(ITIN)

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Case 1-Ly-442590-eSS DOoCcl riled O//le/ly

Debtor 1 Chu H. Kwon

First Name Middte Name

Last Name

Case number (i known),

entered Ofilé2/i1y LoioLiO2

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

Wi | have not used any business names or EINs.

 

Business name

 

Business name

EIN

EIN

About Debtor 2 (Spouse Only in a Joint Case):

CJ | have not used any business names or EINs.

 

Business name

 

Business name

EN

EIN

 

5. Where you live

33 Gold Street

If Debtor 2 lives at a different address:

 

 

 

 

 

 

 

Number Street Number Street

Apt. 409

New York NY 11338

City State ZIP Code City State ZIP Code
New York County

County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

If Debtor 2’s mailing address is different from
yours, fifl it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

CJ Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

“i | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Principal Place of Business Located

 

Principal Assets Located

 

 

 

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2

 
Debtor 1

Case 1-Ly-44250-eSS DOCL FileadO/s//id/ly centered Of/Léily Loioli0e

First Name

Chu_H. Kwon

Middle Name

Case number (if known)

 

Last Name

| Part 2: | Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

LJ Chapter 7

4 Chapter 11
C) Chapter 12
L) Chapter 13

 

How you will pay the fee

1 will pay the entire fee when I file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

L] | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

LJ 1 request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

11.

Have you filed for
bankruptcy within the
last 8 years?

 

 

 

 

. Are any bankruptcy

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

 

 

 

 

No
Cl Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
No
L) Yes. Debtor Relationship to you
District When Case number, if known
MM/ODD /YYYY
Debtor Relationship to you
District When Case number, if known
MM /DD/YYYY
CI No. Go toline 12.
Yes. Has your landlord obtained an eviction judgment against you?

{21 No. Go to line 12.

L} Yes. Fill out Mnitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for individuals Filing for Bankruptcy page 3
Case 1-L1y-44250-eSS DOC FileadOU//id/ly centered Of/Léily Loioli0e

Debtor 1 C h u H. Kwon Case number (if known)

First Name Middle Name Last Name

 

Ee Report About Any Businesses You Own as a Sole Proprietor

 

12. Are youasole proprietor (J) No. Goto Part 4.
of any full- or part-time
business? C) Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

L] Health Care Business (as defined in 11 U.S.C. § 101(27A))
Cl Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
LI) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

CJ None of the above

 

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor?
a CQ) No. | am not filing under Chapter 11.
For a definition of small
business debtor, see Q No. | am filing under Chapter 11, but |am NOT a small business debtor according to the definition in
11 U.S.C, § 101(51D). the Bankruptcy Code.

UL) Yes. lam filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

ea Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14.Do youownorhaveany (no
property that poses or is
alleged to pose a threat I Yes. Whats the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 1-19-44250-eSS DOCLl FileadO//id/ly centered O//Léily Loioli0e

Debtor 1 Chu_H, Kwon

First Name Middle Name

Last Name

Case number (if known),

Eo Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

C} | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

6d 1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cl 1am not required to receive a briefing about
credit counseling because of:

CQ] Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

O) Active duty. | am currenily on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C] I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) t received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

(] | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment pian you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) 1am not required to receive a briefing about
credit counseling because of:

L) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

| Disability. | My physical disability causes me
to be unabie to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

Q) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
Case 1-1y-44250-eSS DOCL FileadO/s/id/ly centered Of/L2éily Loioli0e

Debtor 1 Chu H. Kwon

First Name Middle Name

Case number (if known)

 

Last Name

Bs Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

| Part 7: | Sign Below

For you

Official Form 101

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

@ No. Go to line 16b.
CL] Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LJ No. Go to fine 16c.
Q Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

{2 No. | am not filing under Chapter 7. Go to line 18.

UL) Yes. lam filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

CQ No
QL) Yes

Q 1-49
LI 50-99
L) 100-199
L} 200-999

CL) $0-$50,000

QQ $50,001-$100,000
CY $100,001-$500,000
CL) $500,001-$4 million

CL) $0-$50,000

U $50,001-$100,000
C) $100,001-$500,000
C) $500,001-$1 million

QI 1,000-5,000
Q) 5,001-10,000
LI 10,001-25,000

 $1,000,001-$10 million

() $10,000,001-$50 million
L) $50,000,001-$100 million
L) $100,000,001-$500 million

 $1,000,001-$10 million

CL) $10,000,001-$50 million
CL) $50,000,001-$100 million
LJ $100,000,001-$500 million

Q) 25,001-50,000
LJ 50,001-100,000
L) More than 100,000

() $500,000,001-$1 billion

L} $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
Q) More than $50 billion

LY $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
Q) More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

if no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571

K ea YZ x

 

Signature of Debtor 1

Executed on 07/12/2019
MM / DD

Voluntary Petition for Individuals Filing for Bankruptcy

Signature of Debtor 2

Executed on

MM / DD /YYYY

page 6
Case 1-1y-44250-eSS DOCL FileadO/s/id/ly centered Of/L2éily Loioli0e

Debtor 1 Ch U H. Kwon Case number (if known).

 

First Name Middle Name Last Name

F tt if |, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
or your attorney, IT you are i, proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

 

represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not il f ; Z
i |
need to file this page. x L taf Mey if View Date 07/12/2019
Signature of Attorney for Hebtor \ | MM / DD /YYYY

Charles E. Simpson
Printed name

Windels Marx Lane & Mittendorf, LLP

Firm name

156 West 56th Street

Number Street

 

 

 

 

New York NY 10019

City State ZIP Code

Contact phone (212) 237-1070 Email address CSIMPSON@windelsmarx.com
1614544 NY

Bar number State

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 7
Case 1-1y-44250-eSS DOCL FileadO/s/id/ly centered O//Léily Loioli0e

Debtor 4 Chu H. Kwon

Case number (if known)

 

First Name Middie Name

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

Official Form 101

Last Name

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debis if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

) No

A Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

QI No

4 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
W No

CL) Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

 

 

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 07/12/2019 Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone (917) 854-2929 Contact phone
Cell phone Cell phone
Email address Chukwon32@gmail.com Email address

 

Voluntary Petition for Individuals Filing for Bankruptcy page 8
Case 1-1y-44250-eSS DOCL FileadO/s/id/ly centered Of/L2éily Loioli0e

REQUEST FOR THIRTY (30) DAY TEMPORARY WAIVER
OF
CREDIT COUNSELING

I hereby certify that I have made a request for credit counseling services from an
approved agency, but was unable to obtain those services before filing for bankruptcy. My
attorney, David Lopez, Esq. contacted American Debt Resources, Inc., an approved agency, with
a principal place of business located at 248C Larkfield Road, Eat Northport, NY 11731, to obtain
the course materials necessary to complete the course. I am in receipt to of the course materials
and will complete the credit counseling on or before 30-days from the date of the Petition.

I was unable to complete credit counseling prior to filing for bankruptcy because I was
trying to save my membership interests in three (3) limited liability companies, which I pledged
as collateral to secure a mortgage, from being sold at a public auction sale scheduled for July 15,
2019. Iam currently in default of those obligations. The sale is scheduled to go forward unless
the sale is stayed by the bankruptcy court.

The exigent circumstances which required me to file this bankruptcy case is to stay the
public auction sale of my membership interests in three (3) limited liability companies, which are
scheduled to be sold on July 15, 2019.

Accordingly, request is hereby made for a thirty (30) day Temporary Waiver of Credit

Counseling.

LL LE—.

Chu H. Kwon

{11718222:1}
